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                         THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 AMERICAN CIVIL LIBERTIES UNION
 FOUNDATION OF MASSACHUSETTS,

                        Plaintiff,
 v.
                                                    Civil Action No. 14-cv-11759-ADB
 FEDERAL BUREAU OF INVESTIGATION;
 and ANDREW E. LELLING, UNITED
 STATES ATTORNEY FOR THE DISTRICT
 OF MASSACHUSETTS,

                        Defendants.

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff American Civil

Liberties Union Foundation of Massachusetts (“Plaintiff”) and Defendants Federal Bureau of

Investigation (“FBI”) and the United States Attorney for the District of Massachusetts (“USAO”)

(together with FBI, “Defendants”) (collectively with Plaintiff, the “Parties”), by and through their

undersigned counsel, hereby stipulate as follows:

       WHEREAS, Plaintiff filed the Complaint in this action on April 10, 2014 pursuant to the

Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, to obtain certain records from Defendants

concerning the Massachusetts Joint Terrorism Task Force;

       WHEREAS, Defendants made their final production of documents in this action on

December 20, 2016 and produced their final Vaughn index on June 19, 2017;

       WHEREAS, Plaintiff requested Defendants pay its attorneys’ fees and costs in this action;

       WHEREAS, the Parties reached an agreement with respect to Plaintiff’s request for

attorneys’ fees and costs;

       WHEREAS, Defendants have made payment to Plaintiff in fulfillment of the Parties’
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agreement concerning attorneys’ fees and costs;

       NOW, THEREFORE, the Parties, acting through counsel, and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the dismissal of this action with prejudice.

 Dated: October 18, 2018

 THE AMERICAN CIVIL LIBERTIES                       FEDERAL BUREAU OF
 FOUNDATION OF MASSACHUSETTS                        INVESTIGATION; and ANDREW E.
                                                    LELLING, UNITED STATES ATTORNEY
 By their attorneys,                                FOR THE DISTRICT OF
                                                    MASSACHUSETTS

                                                    By their attorney,

                                                    ANDREW E. LELLING
                                                    United States Attorney


 /s/ William D. Dalsen                              /s/ Jennifer A. Serafyn*
 William D. Dalsen (BBO No. 689334)                 Jennifer A. Serafyn
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 – and –
                                                    *With Permission
 Matthew R. Segal (BBO No. 654489)
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                                CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the above document was filed via the Court’s CM/ECF
system and that and a copy will be sent automatically to all counsel of record on October 18, 2018.

                                                  /s/ William D. Dalsen
                                                  William D. Dalsen (BBO No. 689334)




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